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City NATIONAL BANK
The way up.’

Ana ¥ Perez | Vice President
| Entertainment-Team Wheeler

September 12, 2014

Bevan Cooney

C/O Fulton & Meyer

16030 Ventura Blvd., Suite 240
Encino, CA 91436

Re: Letter of Reference - Bevan Cooney
Dear Members of the Board:

Please accept this letter as verification that Bevan Cooney has been a client of City National
Bank since 2002. He is a client in good standing.

Should you have any questions please feel free to contact me direct at ana.yperez@cnb.com
or 310-888-6224.

Sincerely,

Ana Y Perez
Vice President

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City Nationa! Center 400 North Roxbury Drive Third Floor Beverly Hilts, CA 90210 Member FDIC
T: 310.838.6224 F: 310.868.1038 ana.yperez@cnb.com

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